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                                   UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           18
           19      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           20      CERCACOR LABORATORIES, INC.,                  APPLE’S REPLY MEMORANDUM
                   a Delaware corporation,                       IN SUPPORT OF ITS MOTION IN
           21                                                    LIMINE NO. 1: PRECLUDE
                                      Plaintiffs,                REFERENCES TO OTHER
           22                                                    LITIGATIONS AND PROCEEDINGS
                         v.
           23      APPLE INC.,                                   Date: Mar. 13, 2023
           24      a California corporation,                     Time: 1:30pm

           25                         Defendant.
                                                                 Pre-Trial Conference: Mar. 13, 2023
           26                                                    Trial: Mar. 28, 2023

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             1                                           INTRODUCTION
             2           Plaintiffs’ opposition confirms that they will try to inject into the trial evidence
             3     and argument about other litigations—in which Apple was not a party and was not
             4     represented at trial—in an attempt to suggest to the jury that their positions have received
             5     the approval of the judicial branch, and this Court in particular. That kind of evidence
             6     and argument would be irrelevant, misleading, and highly prejudicial to Apple and so
             7     should be excluded under FRE 402 and 403.
             8           For example, although this Court has prohibited Plaintiffs from pressing a
             9     collateral estoppel argument based on the outcome of the True Wearables litigation,
           10      Plaintiffs plan to tell the jury that this Court has found that Marcelo Lamego “violated
           11      his confidentiality agreements with Masimo,” had access to Masimo’s source code, and
           12      that Lamego misappropriated “protectable trade secrets” from Masimo. E.g., Opp. 8-
           13      10. This is precisely the kind of information that is barred under FRE 402 and 403
           14      because it says “nothing about the merits of this case and would clearly be prejudicial
           15      with no counterbalancing evidence of probity.” Ohio House LLC v. City of Costa Mesa,
           16      2022 WL 2189541, at *2 (C.D. Cal. Mar. 28, 2022) (Selna, J.). In any event, factual
           17      findings and case outcomes are quintessential hearsay. Id. Because Plaintiffs’ brief
           18      makes clear that they intend to offer these findings for their truth and they do not identify
           19      any applicable exception to the hearsay rule, they are barred from relying on them under
           20      FRE 802.
           21            Plaintiffs also apparently intend to rely on their past cases against rivals in the
           22      medical device space but provide no colorable basis for why those decisions are relevant
           23      here. Again, the mere fact that “prior litigants have lost” says nothing about the strength
           24      of Plaintiffs’ case in this proceeding, Ohio House, 2022 WL 2189541, at *2 —
           25      particularly given that, as Plaintiffs’ opposition takes pains to point out, the Nellcor,
           26      Philips, and Mindray cases involved patent litigation rather than trade secrets. Plaintiffs
           27      now assert for the first time that Apple formed a positive opinion about Plaintiffs based
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             1     on these prior suits. Plaintiffs identify nothing in the record to support this point. The
             2     mere fact that two, decade-old Apple slide decks briefly reference certain patent and
             3     anti-trust litigations (in the context of providing neutral, factual background about
             4     Masimo and other medical device companies) says nothing about any opinion Apple
             5     held of Masimo or its technology.
             6           Finally, Plaintiffs improperly use their opposition brief to seek affirmative relief,
             7     asking this Court to either bar Apple from introducing testimony and evidence that
             8     Plaintiffs copied Apple Watch when designing their W1 smartwatch or grant Plaintiffs
             9     leave to bring in an irrelevant ITC decision that they claim already concluded there was
           10      no such copying. Plaintiffs are wrong on the law and the facts. They identify no
           11      authority that allows them to receive relief without filing their own motion and, in any
           12      event, the ITC ALJ had no occasion to resolve the copying question.
           13                                            ARGUMENT
           14      I.    REFERENCES TO OTHER LITIGATION SHOULD BE EXCLUDED AS IRRELEVANT,
           15            UNFAIRLY PREJUDICIAL, AND HEARSAY
           16            A.     Apple’s Motion Is Not Overly Broad
           17            Plaintiffs attack a strawman by arguing (Opp. 4) that Apple’s motion seeks to
           18      exclude wide swathes of relevant evidence simply because it was presented in another
           19      proceeding. In reality, Apple’s opening brief acknowledged the parties’ agreements
           20      regarding limited cross-use of evidence and agreed that such evidence can be introduced
           21      when it is independently admissible in this case. Mot. 3. What Plaintiffs cannot do is
           22      reference the fact that the evidence was used elsewhere, since that additional information
           23      has no relevance to this proceeding. Mot. 3 & n.2; see also Ohio House, 2022 WL
           24      2189541, at *3 (instructing that “any testimony from a prior case” that is admissible “be
           25      described as ‘sworn testimony given in a prior proceeding’” rather than identifying
           26      where).
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             1           To the extent that Plaintiffs implicitly argue that it is improper to seek the
             2     exclusion of references to prior and collateral litigation in general, they identify no case
             3     law that bars such an approach where—as here—the moving party has provided specific
             4     examples of the kinds of other proceedings to exclude. To the contrary, both of
             5     Plaintiffs’ cited cases concern requests that sought exclusion of a vague category of
             6     evidence “without identifying specific evidence.” Stars & Bars, LLC v. Travelers
             7     Casualty Ins. Co. of Am., 2020 WL 4342250, at *4 (C.D. Cal. May 28, 2020); see also
             8     McCoy v. Kazi, 2010 WL 11465179, at *12 (C.D. Cal. Aug. 27, 2010) (“Plaintiffs
             9     provide no detail on what specific complaints they want to exclude or their subject
           10      matters.”). In contrast, courts routinely grant motions like the one at issue here, which
           11      seek a straightforward ruling that no party can refer to the existence of or rulings from
           12      other litigations. See, e.g., Ohio House, 2022 WL 2189541, at *2; Grace v. Apple, Inc.,
           13      2020 WL 227404, at *3 (N.D. Cal. Jan. 15, 2020) (“The Court finds that the probative
           14      value of the prior patent infringement lawsuits and verdicts is minimal and is
           15      substantially outweighed by a danger of unfair prejudice, confusing the issues,
           16      misleading the jury, undue delay, and wasting time.”); Novartis Pharms. Corp. v. Teva
           17      Pharms. USA, Inc., 2009 WL 3754170, at *9 (D.N.J. Nov. 5, 2009) (excluding evidence
           18      of prior and collateral litigations under, inter alia, FRE 402, 403, and 802, because such
           19      evidence is “likely to result in unfair prejudice, confusion and undue delay”).
           20            B.     Plaintiffs’ Litigations Against Nellcor, Philips, and Mindray Should
           21                   Be Excluded
           22            As Apple explained, Plaintiffs’ intellectual property litigations against other
           23      companies have no bearing on any claim or defense, would be inadmissible hearsay if
           24      offered to prove facts about the state of the pulse-oximeter industry at various times, and
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             1     “would clearly be prejudicial [to Apple] with no counterbalancing probity,” Ohio House,
             2     2022 WL 2189541, at *2.1 Mot. 2-4.
             3              Plaintiffs’ opposition confirms that they will try to introduce details about their
             4     purported litigation victories against Nellcor, Philips, and Mindray and suggest to the
             5     jury that it should follow the others in vindicating Plaintiffs’ intellectual property rights.2
             6     This is precisely the tact that Plaintiffs’ lead counsel took in Masimo’s trial against
             7     Philips—i.e., personalizing his role in trying Masimo’s earlier case against Nellcor,
             8     lionizing the Nellcor jury for protecting a “small little company” from bigger players,
             9     and arguing that an issue then-pending before the jury had been “resolved once and for
           10      all” by the Nellcor jury. Masimo Corp. v. Philips Elec. N. Am. Corp., 2015 WL 2379485,
           11      at *13-18 (D. Del. May 18, 2015). Judge Stark found this behavior constituted “attorney
           12      misconduct” and admonished Masimo’s counsel for his “decision to walk up to the line
           13      the Court had drawn and, several times, step right over it,” behavior that the court
           14      speculated could be “intentional maneuvers” rather than “mere missteps.” Id. at *19.
           15      During the trial, Masimo’s lead counsel repeatedly violated Judge Stark’s order, starting
           16      in his opening statement, continuing during the direct examination of Masimo’s CEO
           17      Joe Kiani, and going through to his closing argument. See id.
           18               Plaintiffs’ suggestion that the record in Philips concerning the admissibility of
           19      references to Nellcor supports their position has it exactly backwards. In Philips, the
           20      court issued a pre-trial order excluding “[a]ny … details of the Nellcor litigation …
           21      under Rule 403” except certain discrete “facts [that were] necessary to allow the parties’
           22
           23      1
                     Plaintiffs try to distinguish Ohio House as only addressing relevance and too fact-
           24      bound to bear on this motion, but they misrepresent this Court’s holdings. Opp. 12.
                   Ohio House makes a general point that it is irrelevant how others have fared against a
           25      party while litigating similar claims, and the Court squarely holds that “present[ing] to
                   the jury prior [judicial] rulings … would be hearsay.” Id.
           26      2
                    Plaintiffs’ point (Opp. 5) that all three cases were patent suits rather than trade secret
           27      suits supports Apple’s position that these matters are irrelevant to this case, as they
                   necessarily involved different kinds of allegations and evidence.
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             1      experts to put [on] their damages analyses” and to explain “the impact the Nellcor
             2      litigation had on the … the value of Masimo’s patents.” Masimo, 2015 WL 2379485, at
             3      *14.
             4               While Nellcor at least had some marginal relevance to Philips, Plaintiffs have not
             5      provided a meaningful foundation for how Nellcor, Philips, or Mindray could be
             6      relevant to any factual dispute in this trial. They are not. None even involved trade
             7      secrets, let alone the trade secrets asserted here. Plaintiffs suggest that the outcomes of
             8      Masimo’s litigations against Nellcor, Philips, and Mindray are relevant because, when
             9
           10                                                                                             Opp.
           11       5. But Plaintiffs’ assertion lacks any basis in the record. The cited evidence consists
           12       entirely of
           13
           14                                         See Opp. 5-6. Nothing                       suggests that
           15
           16
           17                                                 Opp. 5-6.3
           18                Plaintiffs should not be permitted to present their background story through the
           19       lens of other courts’ opinions and other juries’ verdicts, as Plaintiffs’ opposition makes
           20       clear they intend to do. See, e.g., Opp. 6 (“As other courts have recognized, … Masimo’s
           21       technology was the gold standard in the industry, particularly after Nellcor.” (citing
           22       Philips, 2015 WL 2379485, at *19)). Even assuming the underlying facts were relevant,
           23       it would be unfairly prejudicial for Plaintiffs to bolster their presentation by trading on
           24
           25       3
                     Plaintiffs also argue relevance based on the fact that Apple designated a portion of
           26       Marcelo Lamego’s deposition that referenced Nellcor. To be clear, the designation is
                    about                                      and merely includes an eight-word aside to
           27       Nellcor. See Opp. 7; Ex. I. at 123. To the extent such a fleeting reference matters to this
                    Court’s analysis, Apple withdraws the designation.
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             1      the authority and respect the jury will accord to statements from other federal courts.
             2      Pursuant to FRE 402 and 403, the Court should therefore preclude Plaintiffs from
             3      introducing findings and opinions from other courts.
             4            Plaintiffs relatedly assert (without authority) that facts about prior litigations are
             5      admissible at trial because references to the litigations appear in “Apple’s own
             6      documents.” Opp. 6. But again, the mere fact that
             7                                  says nothing about whether those cases are relevant to this
             8      proceeding and does not somehow make them admissible. Plaintiffs should be required
             9      to redact all references to litigation from exhibits admitted into evidence and/or
           10       published to the jury, including those cited in their Opposition. See United States v.
           11       Verduzco, 373 F.3d 1022, 1033 (9th Cir. 2004) (affirming exclusion of evidence as
           12       irrelevant and under FRE 403 where the proponent “laid” “insufficient foundation … to
           13       support the testimony’s relevance”).
           14             Finally, even if the findings and rulings from Nellcor, Philips, Mindray, and any
           15       other intellectual property litigation in which Masimo was involved were relevant and
           16       not unduly prejudicial, they are inadmissible hearsay. Mot. 3-4. Plaintiffs’ assertion
           17       that “Masimo does not offer these cases as evidence of patent validity or infringement,”
           18       Opp. 7, misses the point. An out-of-court statement is hearsay if “a party offers [it] in
           19       evidence to prove the truth of the matter asserted in the statement.” Fed. R. Evid.
           20       801(c)(2). Offering findings and judgments of prior cases containing facts about
           21       Masimo’s business and the pulse oximetry industry “to show Apple’s reasons for
           22       pursuing Masimo,” and “to explain Masimo’s growth as a leader in pulse oximetry
           23       technology” (Opp. 7) is an attempt “to prove the truth of those findings and that analysis”
           24       and “to prove the truth of the matters asserted in the judgment,” both of which
           25       “constitutes the use of hearsay,” United States v. Sine, 493 F.3d 1021, 1036 (9th Cir.
           26       2007); see also Ohio House, 2022 WL 2189541, at *2 (“To the extent the City wishes
           27       to present to the jury the actual prior rulings, such evidence would be hearsay.”).
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             1            Plaintiffs wrongly assert that Sine is “dicta.” Opp. 13. To the contrary, the
             2      admissibility of a judicial order from another litigation was the “primary complaint on
             3      appeal” in Sine (i.e., “that the government repeatedly used factual findings contained in
             4      [an] order [from another case] during its cross-examination of Sine”). Sine, 439 F.3d at
             5      1026. Moreover, the quoted passage came from a section that concluded “unless the
             6      order comes within a hearsay exception recognized by the Federal Rules of Evidence,
             7      the reference to the order should not have been allowed … and we hold that none is
             8      available.” Sine, 493 F.3d at 1036 (emphasis added). In fact, the Court expressly
             9      “agree[d] with the Fourth, Tenth, and Eleventh Circuits that judicial findings of fact are
           10       hearsay, inadmissible to prove the truth of the findings unless a specific hearsay
           11       exception exists.” Id.
           12             To the extent that Plaintiffs are arguing that the language from Sine was dicta
           13       because the Ninth Circuit ultimately affirmed the decision below on plain error review,
           14       they are incorrect. The Ninth Circuit has long held that “[w]here a panel confronts an
           15       issue germane to the eventual resolution of the case, and resolves it after reasoned
           16       consideration in a published opinion, that ruling becomes the law of the circuit,
           17       regardless of whether doing so is necessary in some strict logical sense.” United States
           18       v. Johnson, 256 F.3d 895, 914 (9th Cir. 2001) (en banc). Because, as in Sine, no hearsay
           19       exception is available to Plaintiffs here, the findings and judgments from Masimo’s prior
           20       intellectual property litigations should be excluded under FRE 802.
           21             C.     Plaintiffs’ Litigation Against True Wearables Should Be Excluded
           22             As Apple explained, the findings and rulings from True Wearables are irrelevant
           23       because they involve other asserted trade secrets and the conduct of other defendants,
           24       they are highly and unfairly prejudicial because their admission would likely give the
           25       jury the impression that the Court favors Plaintiffs, and, at a minimum, the findings are
           26       impermissible hearsay. Mot. 3-6. Plaintiffs’ arguments to the contrary are unavailing.
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             1            First, Plaintiffs place heavy emphasis on the fact that Apple designated a few
             2      snippets from Lamego’s deposition that touch on True Wearables. Opp. 7-10. As an
             3      initial matter, Apple’s designations from Lamego’s deposition are now likely moot,
             4      because Plaintiffs have subpoenaed Lamego to testify live. See Ex. 1; Opp. 8 n.3. Even
             5      if they were not, Apple agrees to withdraw the challenged designations if it means that
             6      Plaintiffs are not permitted to raise True Wearables’ findings and outcome.
             7            More broadly, while Plaintiffs cite four designated portions of transcript as having
             8      “put True Wearables at issue,” only one clause of one sentence of testimony (Ex. I at
             9      108:8) mentions the True Wearables litigation at all. Id. This passing reference hardly
           10       renders the entire True Wearables litigation relevant. And even if it did, “the ‘opening
           11       the door’ doctrine is not so capacious as to allow the admission of any evidence made
           12       relevant by the opposing party’s strategy, without regard to the Federal Rules of
           13       Evidence,” Sine, 493 F.3d at 1037, and FRE 403 and FRE 802 would still bar the
           14       admission of the True Wearables findings and outcome. See infra pp. 11-12.
           15             Second, Plaintiffs contend that True Wearables is relevant because the evidence
           16       and factual findings go to Marcelo Lamego’s credibility and can be used for
           17       impeachment purposes. Opp. 7-11. As a threshold matter, Plaintiffs have no answer to
           18       Apple’s argument that if they wish to impeach Dr. Lamego based on prior testimony,
           19       they could do so without identifying where that testimony came from. Mot. 3 n. 2; see
           20       also supra p. 2. In any event, Plaintiffs have not established that True Wearables
           21       provides a proper basis for impeachment. The plain text of FRE 608(b) (the only
           22       authority they cite) provides that “extrinsic evidence is not admissible to prove specific
           23       instances of a witness’s conduct in order to attack or support the witness’s character for
           24       truthfulness,” except that “the court may, on cross-examination, allow them to be
           25       inquired into if they are probative of [the witness’s] character for truthfulness or
           26       untruthfulness.” Fed. R. Evid. 608(b) (emphasis added). While a party is obviously
           27       entitled to impeach its own witness, see Fed. R. Evid. 607, a litigant “must not knowingly
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             1      elicit testimony from a witness in order to impeach him with otherwise inadmissible
             2      [evidence],” United States v. Gomez-Gallardo, 915 F.2d 553, 555 (9th Cir. 1990).
             3            Here, Plaintiffs are the ones calling Dr. Lamego as a witness. Plaintiffs appear to
             4      assume that Dr. Lamego’s testimony will conflict with the Court’s True Wearables
             5      findings and be contrary to Plaintiffs’ trial narrative, but “impeachment is not permitted
             6      where it is ‘employed as a guise for submitting to the jury substantive evidence that is
             7      otherwise unavailable.’” Gomez-Gallardo, 915 F.2d 553, 555 (quoting United States v.
             8      Peterman, 841 F.2d 1474, 1479 (10th Cir.1988)). That is because the “maximum
             9      legitimate effect of the impeaching testimony can never be more than the cancellation
           10       of the adverse answer by which the party is surprised.” Id. Since the Court’s prior
           11       rulings and findings are inadmissible hearsay and extremely prejudicial, see infra pp.
           12       11-12, permitting them to come in to supposedly impeach Dr. Lamego’s testimony
           13       would provide an effect beyond “cancel[ing] … the adverse answer” that Plaintiffs are
           14       expecting. Id.
           15             To the extent Dr. Lamego provides specific testimony about a fact issue that is
           16       inconsistent with his specific True Wearables testimony about that same fact issue, Dr.
           17       Lamego could be impeached with his prior inconsistent statement. But any such
           18       impeachment should be done in a generic way—e.g., asking Dr. Lamego if he has given
           19       “prior sworn testimony,” and then using his earlier testimony without referring to the
           20       trial in the True Wearables case. Dr. Lamego should not be shown Court findings or
           21       anything other than his own prior statements about facts. And even the use of Dr.
           22       Lamego’s own prior testimony must be limited to specific, unanticipated contradictions
           23       on targeted fact issues. Cf. Bushaw v. United States, 353 F.2d 477, 481 (9th Cir. 1965)
           24       (stating a “party ‘is not permitted to get before the jury, under the guise of impeachment,
           25       an ex parte statement of a witness, by calling him to the stand when there is good reason
           26       to believe he will decline to testify as desired, and when in fact he only so declines’”).
           27
           28
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             1               Third, Plaintiffs argue that True Wearables is relevant under FRE 404(b) because
             2      it shows “Lamego’s prior bad acts.” Opp. 8. But FRE 404(b) can never make evidence
             3      relevant, because it does not create an exception to FRE 402 and 403’s general bar on
             4      irrelevant or unduly prejudicial evidence. The Ninth Circuit has made clear that “Rule
             5      404, which … deals with ‘character’ evidence, and its subsection 404(b) … is not a
             6      different pathway to the admission of evidence [from FRE 402]”; it is “simply a specific
             7      qualification of the general rule of admissibility of all relevant evidence.” United States
             8      v. Curtin, 489 F.3d 935, 943 (9th Cir. 2007) (en banc) (emphasis added); id. at 944 (even
             9      relevant evidence that falls under FRE 404(b) is still subject to FRE 403). FRE 404 thus
           10       does not provide a standalone basis for relevance.4
           11                Fourth, Plaintiffs contend True Wearables is relevant because it shows that they
           12       have previously taken affirmative steps to protect their purported trade secrets. Opp. 10.
           13       But Plaintiffs concede in the very next breath that True Wearables involved different
           14       trade secrets than those at issue in this case. Id. (“[N]one of the trade secrets at issue in
           15       this case were at issue in True Wearables[.]”). And to the extent that Plaintiffs merely
           16       want to show that they have filed suit to protect their intellectual property in the past,
           17       they fail to explain why they cannot make that basic point without providing specific
           18       case names. Indeed, even the out-of-circuit case law Plaintiffs rely upon for this
           19       argument merely mentions that there was prior litigation (or there was no prior litigation)
           20       without going into any detail. See, e.g., WorldVentures Mktg., LLC v. Rogers, 2018 WL
           21       4169049, at *6 (E.D. Tex. Aug. 30, 2018) (noting in passing that plaintiff had “br[ought]
           22       suit to enforce [its non-disclosure] agreements”); Compuware Corp. v. Health Care
           23
           24
           25       4
                      Plaintiffs mislead when they suggest that Curtin’s statement that “404(b) is a rule of
           26       inclusion” means that it is an exception to the normal rules of evidence. See Opp. 3
                    (quoting Curtin, 489 F.3d at 944). In context, Curtin was merely comparing FRE 404(b)
           27       to FRE 404(a), which states the general rule that character evidence is inadmissible. 489
                    F.3d at 944.
           28
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             1      Serv. Corp., 203 F. Supp. 2d 952, 958 (N.D. Ill. 2002) (noting that the “undisputed
             2      evidence shows that these [non-disclosure agreements] were not enforced”).
             3              In any event, even if True Wearables’s outcome and findings had some modicum
             4      of relevance to this case—they do not, because the jury in this case must conduct its own
             5      independent fact-finding—they are barred under FRE 802 (because they are hearsay)
             6      and FRE 403 (because they are unfairly prejudicial). As to the former, “the introduction
             7      of discrete judicial factfindings and analysis underlying the judgment to prove the truth
             8      of those findings and that analysis constitutes the use of hearsay.” Sine, 493 F.3d at
             9      1036.    Notably, “[t]he concern about evidence that is neither based on personal
           10       knowledge nor subject to cross-examination …is even more pronounced when dealing
           11       with statements that recapitulate in detail others’ testimony and declarations.” Id. These
           12       are precisely the kinds of judicial statements that Plaintiffs highlight as the examples of
           13       how they propose to use this Court’s True Wearables opinions. See, e.g., Opp. 8-9
           14       (proposing to impeach Dr. Lamego’s testimony that
           15                    with the Court’s True Wearables finding that he did); Opp. 9-10 (proposing
           16       to use the Court’s True Wearables findings that “Lamego’s prior story of independent
           17       development [was] not credible” and that “Lamego was ‘disgruntled’ towards Masimo
           18       and Cercacor” to undermine his “credibility, integrity, and honesty”). Plaintiffs’ sole
           19       response is that they do not intend to rely upon True Wearables’s findings for their truth,
           20       Opp. 11, but each of the examples is only meaningful if it is taken as true. For example,
           21       if Plaintiffs are not actually arguing that Dr. Lamego was “disgruntled” when he left
           22       Masimo and Cercacor, then the finding would have no bearing on his credibility,
           23       integrity, and honesty.
           24               As to FRE 403, Plaintiffs’ only answer for why the references to True Wearables
           25       would not be unduly prejudicial is that this case does not involve precisely the same
           26       parties as that one. Opp. 10. But this is an artificial distinction. As the rest of Plaintiffs’
           27       brief makes clear, there are, at a minimum, overlapping issues between the two suits—
           28
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             1      such as, for example, what information Dr. Lamego had access to while working for
             2      Plaintiffs and what he did with that information after he left their employ. See Opp. 7-
             3      11. In fact, Plaintiffs have previously (albeit unsuccessfully) suggested that the two
             4      cases are so intertwined that Apple should be bound by this Court’s findings in True
             5      Weraables. See generally Dkt. 896. Given this overlap—and Plaintiffs’ prior attempt
             6      to argue for collateral estoppel—there is a very real risk that the jury would be inclined
             7      to defer to this Court’s prior conclusions despite the different facts and issues at play in
             8      this case, particularly once the jury learns that True Wearables was tried before this
             9      Court in a bench trial. Worse, as Apple previously explained, allowing the jury to review
           10       this Court’s prior findings would “‘impart[]’” to Plaintiffs this Court’s “‘prestige,
           11       dignity, and authority.’” Mot. 5 (quoting Sine, 493 F.3d at 1034). Plaintiffs have no
           12       answer.
           13             D.     Other Proceedings Between The Parties Should Be Excluded
           14             Apple specifically identified three other sets of litigations for exclusion: the
           15       litigations pending in the District of Delaware, Apple Inc. v. Masimo Corp., No. 22-cv-
           16       1378 (D. Del. 2022); inter partes review proceedings before the U.S. Patent and
           17       Trademark Office; and ongoing proceedings before the International Trade Commission
           18       (“ITC”), Certain Light-Based Physiological Measurement Devices And Components
           19       Thereof, Inv. No. 337-TA-1276, USITC (Jan. 10, 2023). See Mot. 4 n.4. There is
           20       apparently no dispute as to the Delaware litigations or inter partes review—Plaintiffs
           21       have now agreed not to raise either category of proceedings. See Opp. 12.
           22             As for the ITC proceedings, Plaintiffs appear to seek affirmative relief through
           23       their opposition brief by asking the Court to “exclude” as irrelevant allegations that
           24       Masimo copied aspects of Apple Watch when making their W1 watch. Opp. 11. If
           25       Plaintiffs want relief, however, they were required to file their own motion. See Dkt.
           26       726 at 4 n.1 (rejecting Plaintiffs’ request for “reciprocal relief” because it was “not
           27       [properly] before the Court” when ruling on Apple’s motion). In any event, evidence
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             1      that Plaintiffs copied Apple Watch is relevant to any number of issues, including
             2      damages (since Plaintiffs’ lost profits theory relies in part on sales of W1) and whether
             3      Plaintiffs possessed their purported trade secrets or copied them from Apple.
             4            Plaintiffs also argue that they should be allowed to discuss the ITC proceeding if
             5      Apple raises the fact that Plaintiffs copied Apple Watch because “Apple made the same
             6      arguments” in front of the ITC “without success.” Opp. 11. Plaintiffs provide no citation
             7      for this point—and it is simply wrong. Apple had no occasion to ask the ITC ALJ to
             8      resolve whether W1 copies Apple Watch. Rather, that case involved only allegations of
             9      infringement made by Masimo against Apple, and the ALJ’s only copying-related
           10       findings were that there was “no significant credible evidence that Apple copied
           11       Masimo’s patented technology” and that Masimo’s allegations of copying “lack[ed]
           12       evidentiary support,” were “purely speculative,” and were “insufficient to demonstrate
           13       copying.” In the Matter of Certain Light-Based Physiological Measurement Devices
           14       and Components Thereof, Inv. No. 337-1276, Final Initial Determination, EDIS No.
           15       789795 at 153 (Jan. 10, 2023).
           16             Even if there were some overlap between the issues decided in the ITC proceeding
           17       and Apple’s arguments at trial (there is not), Plaintiffs provide no argument for why
           18       evidence about the ITC rulings would be admissible in light of the relevance, hearsay,
           19       and FRE 403 problems discussed above. Plaintiffs are plainly wrong when they argue
           20       (without citation to legal authority) that they “should be free to offer evidence of those
           21       inconsistencies” between positions Apple takes at trial and positions it has taken
           22       elsewhere. Opp. 12. There are specific requirements for when a party may be estopped
           23       from advancing a position inconsistent with one taken in another proceeding, see, e.g.,
           24       New Hampshire v. Maine, 532 U.S. 742, 750-751 (2001), and absent estoppel,
           25       arguments a party makes in another proceeding are not relevant to any factual dispute at
           26       trial. Plaintiffs have not identified any estoppel doctrine that would apply here.
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             1                                            CONCLUSION
             2            Apple therefore respectfully requests that the Court grant its motion to preclude
             3      Plaintiffs from offering any evidence, testimony, or argument about or making any
             4      reference before the jury to any other litigation or proceeding.
             5
             6      Dated: February 27, 2023               Respectfully submitted,

             7
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             1                              CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple, Inc., certifies that this
             3      brief contains 4,494 words, which:
             4             X complies with the word limit of L.R. 11-6.1.
             5                complies with the word limit set by court order dated [date].
             6
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